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Exhibit H

Attorneys -

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BUSINESS

COHEN);

A Professionel Corporation

“ : . . Lo Los Angeles Office
Jeffrey A. Cohen . : : . 10990 Wilshire Bivd,, Suite 1025
Michael §, Hanna Se, , , . .. . Los Angeles, CA 90024
oe . . ‘ Telephone: (310) 469-9600
OfCounsel- ~ Facsimile: (310) 469-9620
}. Eric Kirkland - . 0 oe .s / . -
Bennet G. Kelley oo ” " South bay Office
oe : mo , . 2321 Rosecrans Ave., Suite 3225
El Segundo, CA 91423
Telephone: (310) 906-1900
Facsimile: (310) 906-1901
July 3, 2018
The Boston Book Festival oO Fon . Via Overnight Mail &
32R Essex Sireet, Suite 5 - Co Email to ‘0 info@bostonbookfest.org

Cambridge, MA 02139
Re: | Dawn Dorland Copyright Claim:
_. Our Client? Dawn Dorland —
oo. Our Fileno.: 7277.001

"SETTLEMENT COMMUNICATION FRE RULE 408; CRE §§1152, 1154

To the Boston Book Festival:

Please be advised th that this office’: ig ‘Gopyrighit counsel for Dawn Dorland with respect to
her copyti ghted work “Dorland kidney chain final recipient Work July 2, 2015” (hereinafter, the
“Work”). Please direct any: communications concerming this matter to this office.

We have reviewed various communications between ¢ our ‘client and members of your staff,
Norah Pichi and Raquel Hitt, regarding: the Boston Book Festival (“BBF”) decision to publish a
short story authored by Sonya. Larson entitled “The Kindest”:as.part of the 10" annual festival, to
be featured in the festival’s One City One Story (C1E1 S”) section: BBF has previously been placed
on notice by our client that this short story contains the Work in whole of in part. We are informed
that prior to the involvement of this office, our client attempted to amicably resolve this matter by
requesting that BBF include an acknowledgment of the Work in the “The Kindest”, We understand
that her proposal was flatly, if not somewhat dismissively and radely rejected without fully
considering the rights of our client or the potential liability of BBF. By this letter we hope to
resolve this matter with you, but i im the event that i is: not possible, y you may rest assured that we will
protect out client’s rights. . ” -

BBF has already admitted infringement of the Work by Ms, Larson and potentially either
direct or contributory infringement by BBF, We do not have the benefit of having reviewed any

- purported revision to “The Kindest” to determine whether any infringement remains, however, the

duplication i in some instances, ‘and striking similarity in’ ‘others, between the Work and The Kindest,
is.so particularly egregious that it is our opinion that any decision to publish The Kindest would

' necessarily infringe our client’s rights. As such, please accept this correspondence as a formal

TRANSACTIONS AND LITIGATION —
| BUSINESS | CORPORATE | INTERNET & TECHNOLOGY | INTELLECTUAL PROPERTY | DATA BREACH | NEW MEDIA |

- : ‘The! Boston Book Festival
July 3, 2018 -

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demand that you cease and. desist of and from any further printing, copying, distribution, or
_. other activities related to “The Kindest” until such time as this matter has been resolved.
Any failure to acknowledge the tights of out client: or failure to cooperate with this office towards
finditig an amicable resolution will: require further foiinal | action. to’ protect our client’s rights. We
and our client remain hopeful that BBF is more reasonable than its previous response to our client

_ would make it seem. Do not test our tesolve in this tegard, nor our: ar: willingness to reach an
. appropriate resolution, :

- oo. Ia ordet to farther evaluate this snaties, we ask that you provide this office with an advance
copy of the purportedly revised “non-infringing” version of “The Kindest”. We are willing to

_, - consider a stipulated protective order or stipulation of non-disclosure in this regard if you believe
-- that'would be helpful, and: we ask that you provide the advance copy within ten'(10) days of the
"- date of this letter. Further, we will take your failure to provide such a copy as an admission that no

: “such change or that only a de minimis change has been made, such that the revised version

.-<:/, continues to violate the tights of our client. As such, we would. be left with no alternative but to

_- proceed. accordingly to prevent intended publication and otherwise protect our client’s rights. Be
farther advised that such action; if necessary, would no longer be for attribistion, but will demand

.- the full measure of penalties for statutory copyright infringement under 17 U.S.C, § 504(c), which
"’ as you likely-are aware, could be as-high as $150,000 under facts such as those presented herein
' wherein BBF has admitted infringement and willfully proceeds in ‘complete and intentional
disregard of our client’s rights despite such advance knowledge of infringement. The shortness,

+ ahd quite frankly the rudeness of your prior response to our client will not be considered favorably
oo by the court. | :

“Again, the purpose sof this correspondence i is to confirm your admission of infringement

oo “aid likely liability as a result thereof. However, our purpose is also to genuinely provide BBF the
oe “opportunity to correct this situation,.and this office remains open to legitimate discussions in this

-tegard. Nothing contained herein or not contained herein should be taken as a walver of any rights

vos ofa our client, all of which are hereby expressly reserved.

- Veiy truly yours,

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[-Bar 20180628 SIAC) an

